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                                 IN THE UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF ARKANSAS
                                          FORT SMITH DIVISION

                 UNITED STATES OF AMERICA                                           PLAINTIFF

                 v.                      CASE NO. 09-20025-001

                 CHARLES R. SCHROLL                                                 DEFENDANT

                                                     ORDER

                      Currently before the Court is Defendant’s Motion to Modify

                 Pretrial   Conditions    (Doc.   20).       One   of   the   conditions     of

                 Defendant’s release is that no travel is permitted outside the

                 Central District of Florida.          Defendant requests the Court to

                 modify this condition to permit him to travel outside the

                 Central District of Florida in the course of his employment as

                 a truck driver.       The United States Probation Office and the

                 Government have advised the Court they have no objection to

                 Defendant’s motion.       The Court, being well and sufficiently

                 advised, finds the motion should be GRANTED.                  Defendant is

                 permitted to travel outside the Central District of Florida only

                 in the course of his employment as a truck driver.             However, all

                 travel shall be pre-approved by the United States Probation

                 Office and solely in its discretion.           Further, Defendant shall

                 at all times maintain contact with his pretrial services officer

                 to her satisfaction.

                      IT IS SO ORDERED this 23rd day of September 2009.

                                                      /s/ Robert T. Dawson
                                                      HONORABLE ROBERT T. DAWSON
                                                      UNITED STATES DISTRICT JUDGE




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(Rev. 8/82)
